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              IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA




UNITED STATES OF AMERICA,                   )
                                            )
              vs.                           ) No.     19-203

                                            )
KEVIN WATSON                                )
                                            )
                        Defendant.          )


                             Memorandum Order of Court

       In compliance with this Court’s Order (ECF # 37), the Government filed Notice of

Intent to Use 404(b) Evidence (ECF #234). Specifically, the Government intends to

introduce as evidence the Defendant’s prior convictions in 2009 and 2011 for

possession with intent to deliver heroin. The Defendant has filed Objections. ECF (#

246). The Government subsequently filed a formal Motion in Limine to Admit Evidence

Under Federal Rule of Evidence 404(b). (ECF #272). Accordingly, the issue is now ripe

for resolution.

       Federal Rule of Evidence 404(b) provides that “[e]vidence of any other crime,

wrong, or act is not admissible to prove a person’s character in order to show that on a

particular occasion the person acted in accordance with the character.” Fed. R. Crim. P.

404(b)(1). Nevertheless, “Rule 404(b)(2) permits admission of other-acts evidence ‘for

another purpose, such as proving motive, opportunity, intent, preparation, plan,

knowledge, identity, absence of mistake, or lack of accident.” United States v. Repak,

852 F.3d 230, 240 (3d Cir. 2017), citing, Fed. R. Crim. P. 404(b)(2). Rule 404(b) is a

rule of general exclusion and, as such, directs that evidence of prior bad acts be

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excluded unless the party seeking admission of the bad acts can demonstrate that the

evidence is admissible for a non-propensity purpose. Repak, 852 F.3d at 240-41,

quoting, United States v. Caldwell, 760 F.3d 267, 276 (3d Cir. 2014).

       To secure admission of the evidence, the Government must demonstrate that the

evidence is:

       (1) offered for a proper non-propensity purpose that is at issue; (2) relevant to
       that identified purpose; (3) sufficiently probative under Rule 403 such that its
       probative value outweighs any unfair prejudice; and (4) if requested, proffer a
       satisfactory limiting instruction.


Id. at 241 (citations omitted). “A district court should apply ‘care and precision … in

ruling on the admission or prior act evidence for a non-propensity purpose’ and, if

admitting the evidence, must ‘articulate reasons why the evidence also goes to show

something other than character…. The reasoning should be detailed and on the record;

a mere recitation of the purposes in Rule 404(b)(2) is insufficient.” United States v.

Wright, Crim. No. 16-255, 2021 WL 1413093, at * 10 (M.D. Pa. April 14, 2021), quoting,

Caldwell, 760 F.3d at 277. “If the proponent of the evidence fails to meet its burden of

satisfying the first two steps, a Court need not address the final two steps.” Wright, 2021

WL 1413093, at * 10, citing, Caldwell, 760 F.3d at 283.

       Turning to the first inquiry, the Government identifies three “non-propensity”

purposes for admission which it alleges are “at issue” in this case: knowledge, intent to

distribute, and absence of mistake. These are “permitted uses” under Rule 404(b)(2).

However, “’a proponent’s incantation of the proper uses of [prior act] evidence … does

not magically transform inadmissible evidence into admissible evidence.” Caldwell, 760

F.3d at 276, quoting, United States v. Morely, 199 F.3d 129, 133 (3d Cir. 1999).



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“Rather, the proponent must identify a specific purpose that ‘is of consequence in

determining the action.’” Id. (citations omitted). To resolve whether the proffered

purposes are at issue in this case, I turn to consider what material issues and facts the

Government must prove in order to obtain a conviction. Id., at 278.

       Watson is charged with possession with intent to distribute fentanyl and heroin in

violation of 21 U.S.C. 841(a)(1) and 841(b)(1)(A)(vi) and 841(b)(1)(B)(i). Consequently,

the Government must prove, beyond a reasonable doubt, first, that Watson possessed

a mixture or substance containing a controlled substance; second, that Watson

possessed the controlled substance knowingly or intentionally; third, that Watson

intended to distribute the controlled substance; and fourth, that the controlled substance

was fentanyl and heroin. See Mod. Crim. Jury Instr. 3d Cir. 6.21.841A. The Government

urges that because it must prove that Watson knowingly and intentionally possessed

the controlled substance and intended to distribute the controlled substance,

“knowledge” and “intent to distribute” are necessarily at issue. Further, because Watson

has indicated that his defense will be that the drugs in the trunk of the car belonged to

Rico Taylor and that Watson was unaware of the drugs, it reasons that “absence of

mistake” is also at issue.

       I disagree. The Government has not demonstrated that knowledge, intent to

distribute or absence of mistake are “at issue” in this case. Watson has asserted a claim

of innocence. As our Court of Appeals has cautioned, however, “merely by denying guilt

of an offense with a knowledge-based mens rea, a defendant [does not] open [ ] the

door to admissibility of prior convictions of the same crime [because] [s]uch a holding

would eviscerate Rule 404(b)’s protection and completely swallow the general rule



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against admission of prior acts.” Caldwell, 760 F.3d at 281. See also, United States v.

Miller, 673 F.2d 688, 697 (7th Cir. 2012) (citations omitted) (“if a mere claim of

innocence were enough to automatically put intent at issue, the resulting exception

would swallow the general rule against admission of prior bad acts.”). Thus, a claim of

innocence is not sufficient to place knowledge at issue for purposes of Rule 404(b).

Caldwell, 760 F.3d at 281.

       In Miller, the defendant was charged, in part, with possession with intent to

distribute crack cocaine. The crack cocaine was found, packaged for distribution,

among his personal effects in a bedroom in a house that Miller shared with others. Miller

claimed that he was not staying in the bedroom and that the crack cocaine was not his.

The district court admitted evidence of his prior conviction for possession of cocaine

with intent to distribute for the purpose of showing intent. The Seventh Circuit Court of

Appeals reversed, finding admission was prohibited under Rule 404(b):

       Here, Miller claimed that the drugs found in the shoe box and on the bed were
       not his, that he was in effect an innocent bystander. Witnesses told the jury about
       Miller’s arrest and conviction for dealing drugs in 2000. The government defends
       the use of that evidence on the ground that it showed his intent to distribute
       drugs in 2008. How, exactly, does Miller’s prior drug dealing conviction in 2000
       suggest that he intended to deal drugs in 2008? When the question is framed this
       way, the answer becomes obvious, even though implicit: “He intended to do it
       before, ladies and gentlemen, so he must have intended to do it again.” That is
       precisely the forbidden propensity inference.


Miller, 673 F.3d at 699. Similarly, in United States v. Lee, 724 F.3d 968, (7th Cir. 2013),

the defendant’s prior drug conviction for possession of crack cocaine was offered as

proof of his knowledge, intent, and lack of mistake. The defendant also claimed to be an

innocent bystander. Cocaine was discovered in the trunk of a car that he was driving,

but he maintained that neither the car nor the cocaine was his. Lee, 724 F.3d at 978.

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The Seventh Circuit reasoned that “Lee was not placing his knowledge or intent into

specific dispute by contending, for example, that he knew there was an off-white,

chunky substance in the car but that he did not realize that was what crack cocaine

looked like, or that he knowingly possessed the cocaine but solely for his own personal

use and with no intent to distribute it.” Id. (citations omitted). “Nor was Lee claiming to

have made a mistake in the usual sense. He was not suggesting, for example, that he

had grabbed someone else’s bag (in which the cocaine was discovered) and put it into

the trunk of the car thinking it was his.” Id. Because the defense was one of complete

innocence – one which posited that he had nothing to do with the cocaine discovered in

the trunk of the car – the Seventh Circuit Court of Appeals determined that the prior

convictions were not admissible for purposes of knowledge and intent.

        I find the Miller and Lee decisions to be persuasive. Here, Watson too claims

complete innocence – that he was unaware of the controlled substances in the car. He

has not asserted any defenses that would make knowledge, intent, or absence of

mistake “at issue” – such as that he mistook the controlled substances in the trunk for

something else or that he intended to personally use the controlled substances rather

than distribute them. As such, I find that the prior convictions are irrelevant to the

proffered non-propensity purposes. See Miller, 673 F.3d at 698.1 The same reasoning

applies to knowledge and absence of mistake.


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  The Government has not argued that the prior convictions demonstrate the same method of operation
employed by Watson, such that the absence of mistake would come into play. There has been no
evidence that Watson’s prior convictions involved the transportation of heroin in the trunk of his car, via
the particular route he traveled when arrested on this occasion, or some other details linking this arrest
with the prior convictions that could be used to show the identity of the perpetrator of the crime. See
United States v. Vargas, 552 F.3d 550, 555 (7th Cir. 2008) (permitting introduction of prior convictions in
which the defendant transported drugs concealed under loads of produce in refrigerated semi-trailers as
probative of his knowledge that he was doing so on the charged occasion despite his contention that he
was unaware of the secret compartment in which the drugs were found).

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        Even assuming, for purposes of argument only, that the Government met the first

factor, I would find that it cannot meet the second. The Government must “explain how

the evidence is relevant to that purpose.” Caldwell, 760 F.3d at 276.2 In proffering such

evidence, the Government must clearly articulate how the evidence fits into a chain of

logical inferences - “a chain that connects the evidence to a proper purpose, no link of

which is a forbidden propensity inference.” United States v. Davis, 726 F.3d 434, 442

(3d Cir. 2013) (citations omitted). Again, here Watson claims that he drugs found in the

trunk were not his. In effect, he is an innocent bystander. The Government defends the

use of the prior convictions with the following “chain of inferences”:

        Knowledge:
        In 2008 and 2009, Watson knowingly and intentionally possessed a controlled
        substance and that substance was heroin. Therefore, it is more probable that on
        April 26, 2019, Watson knew that the stampbags in his trunk contained controlled
        substances, heroin and fentanyl.

        Intent to Distribute:
        In 2008 and 2009, Watson knowingly and intentionally possessed with intent to
        distribute heroin. Therefore, it is more probable that on April 26, 2019, Watson
        intended to distribute the heroin/fentanyl that he possessed.

        Absence of Mistake:
        In 2008 and 2009 Watson knowingly and intentionally possessed with intent to
        distribute heroin. Therefore, it is more probable that Watson had knowledge of
        the presence of heroin/fentanyl in his trunk, and it is more probable that Watson
        had knowledge of drugs and drug distribution. Therefore, it is less probable that
        on April 26, 2019, Watson happened to be in the wrong place at the wrong time
        while driving his car.


(ECF # 234, p. 3-5).

        I disagree with the Government’s assertions that it has explained how the past


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 Our Court of Appeals cautions that “steps one and two are distinct inquiries. The first step requires the
proponent to identify a proper purpose that is pertinent to the case, whereas the second step requires the
evidence tend to establish the identified purpose. Both must be satisfied before evidence may be
admitted under Rule 404(b).” Caldwell, 760 F.3d at 276 n. 6.

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convictions fit into a “chain of inferences.” The prior convictions do not make it more

likely that Watson knew of the drugs in the trunk, that he possessed the drugs in the

trunk or that he intended to distribute the drugs in the trunk. Rather, the only relevant

inference is that Watson engaged in possession with intent to distribute controlled

substances in the past so he must have intended to do it again. Rule 404(b) forbids this

propensity inference.

       Even if I were to conclude that the Government satisfied the relevance and chain

of inference hurdles, I would find that any probative value of the prior convictions is

substantially outweighed by unfair prejudice under Rule 403. The probative value is

diminished given that the prior convictions were approximately ten years prior to instant

alleged offense. See United States v. Wright, Crim. No. 16-255, 2021 WL 1413093, at *

11 (M.D. Pa. Apr. 14, 2021) (“where the convictions were in 2003 and 2006,

approximately 12 and 9 years prior to the instant alleged offense, the probative value,

and relevance, of the prior convictions as direct or circumstantial evidence is

diminished.”). Further, the introduction of Watson’s prior convictions would be extremely

damaging because jurors would be more likely to infer that he has the propensity to

commit the crimes charged. As our Court of Appeals observed, the Advisory

Committee’s Note to Rule 404(a) explains that the prejudice associated with Rule

404(b) evidence is significant:

       Character evidence is of slight probative value and may be very prejudicial. It
       tends to distract the trier of fact from the main question of what actually
       happened on the particular occasion. It subtly permits the trier of fact to reward
       the good man and to punish the bad man because of their respective characters
       despite what the evidence in the case shows actually happened.


Caldwell, 760 F.3d at 284, quoting Fed. R. Evid. 404(a). Advisory Committee’s Note.

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Given that the character evidence here is a prior conviction for the same crime being

tried, the prejudicial impact is “only heightened.” Id.

       Consequently, the Government’s Motion in Limine is DENIED.



Date: October 28, 2021




                                           BY THE COURT:




                                           Donetta W. Ambrose
                                           United States Senior District Judge




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